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                                                      September 5, 2024

                                                                                                                       VIA ECF


 Magistrate Judge Joseph A. Marutollo
 United States District Court
   for the Eastern District of New York
 225 Cadman Plaza East
 Courtroom N324
 Brooklyn, NY 11201

           Re:      In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation,
                    No. 1:05-MD-1720 (MKB)(JAM)

Dear Judge Marutollo:

        Rule 23(b)(3) Class Counsel (“Class Counsel”) seek an Order to Show Cause regarding a law
firm, Betz & Baril, that it has repeatedly warned regarding false and/or misleading statements made
by its agents and referral partners. The Proposed Order to Show Cause seeks to have Betz & Baril,
show cause as to why it should not be barred from any role in this action and seeks to have contracts
entered into by the law firm cancelled and class members alerted to such cancellation at Betz &
Baril’s expense. While this is a harsh penalty, the firm has repeatedly come to the attention of Class
Counsel and it appears that the firm is unable to stop its agents from making false and/or misleading
statements regarding the settlement. Class Counsel also seeks an Order to Show Cause as to two of
the agents, Certainty Management and LenCred, as detailed below.

I.         Background

           A.       Actions by Jason Baril in 2019

        As far back as 2019, Class Counsel has been alerted to issues related to Jason Baril. In 2019,
Class Counsel sought an Order to Show Cause related to another business entity Mr. Baril appeared
to control. That entity, Business Refunds of America (“Business Refunds”), had a website that
contained numerous false and misleading statements, including videos and social media posts. See
ECF 7498 (June 24, 2019 letter to Court and attachments thereto). On June 26, 2019, Judge Orenstein
issued an Order granting Class Counsel’s application. See ECF 7502. Then, following discussions
and representations from Mr. Baril, Class Counsel alerted the Court that Business Refunds had
complied with all of Class Counsel’s requests and thus consented to Mr. Baril’s request to not have
to appear before the Court. See ECF 7511 (July 8, 2019 letter to Court). The Court then excused Mr.
Baril. July 8, 2019 (text-only Order regarding ECF 7511).




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           B.       Actions by Betz & Baril in 2024

        Beginning in May 2024, Class Counsel was alerted to five separate incidents relating to
agents or referral partners of Betz & Baril. Four of these incidents have been detailed in prior status
reports and the most recent, discovered just days ago, is the impetus for Class Counsel’s application
for an Order to Show Cause. Each incident is discussed below.

                    1.    Private Millionaire

        In May 2024, Class Counsel discovered a company called “Private Millionaire” soliciting
merchants without any disclaimer language. The company also appeared to claim that it knew how
much a merchant could expect to receive. Class Counsel sent an overnight letter to an address
associated with the company, sent a LinkedIn message, and also sent a letter to an email address that
appeared to be related to the company. Private Millionaire appeared to have a relationship with Betz
& Baril. A call resulted in an agreement to remove all misleading information and the company
further agreed to include the proper disclaimers on any materials going forward.

                    2.    LinkedIn Issue

        As Class Counsel reported in July 2024, Class Counsel learned that a posting on LinkedIn
from a group that had contracted with a law firm to provide claims-filing services to class members
failed to include the required disclaimers and had several incorrect statements. Class Counsel
contacted the firm, which had the post taken down within 24 hours. At the time, Class Counsel
believed no further action on this specific issue was warranted.

                    3.    AddTraffic and ClickFunds

        As Class Counsel also reported in July 2024, Class Counsel was alerted to certain YouTube
videos from an online web-services-advertising entity (AddTraffic) that had partnered with Betz &
Baril and an entity called ClickFunds. These videos contained numerous false and misleading
statements regarding the settlement, including statements regarding purported numbers of claims
filed, expected payouts and incorrect information regarding the filing process. The disclaimers were
also not present on the materials. On the day that Class Counsel was alerted to these videos, a letter
was sent to Betz & Baril, AddTraffic (the advertising company), and ClickFunds demanding that the
videos be taken down and that the Betz & Baril contact Class Counsel immediately to discuss the
matter. Letters were received from the advertising company, from Betz & Baril, and from
ClickFunds. Each vowed to remove the offending content right away, with the advertising company
sending a new draft video for review. Betz & Baril also agreed to send a letter to the approximately
1,700 clients that may have signed up following receipt of misleading information, explaining that
false and/or misleading information had been given and that any merchant that signed up for the

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firm’s services could cancel, no questions asked. Class Counsel reviewed the proposed
communication and concluded that the letter properly informed class members of their right to file
on their own. It also appeared the entities did remove the questionable videos and the firm indicated
that they were no longer working with ClickFunds or the advertising company. Betz & Baril
submitted a statement to the Court. See ECF 9363, §III.D.

                    4.   Class Member Complaint in August

         A class member contacted Epiq and left a message stating that they had signed up for claims
filing services after being told false information. Class Counsel spoke to the class member on August
22, 2024. The class member confirmed that he was told the claims-filing firm would take 40% and
that this figure was “regulated by the federal court because attorneys could be charging 60-70-80%.”
He also reported being told: “There is only one law firm that is allocated in that state.” The class
member was not able to provide the name of the person that called, but the contracts were signed by
Betz & Baril. Jason Baril was contacted and he conducted a search and found three contracts
associated with the class member. Those contracts were cancelled. During an August 22, 2024 phone
conference, Mr. Baril stated that since July 2024 when a prior status report detailed problems, he had
ceased all outgoing marketing. Mr. Baril was told by Class Counsel that future issues would likely
result in Class Counsel seeking an order to show cause barring the firm from participating in the
settlement in any manner.

                    5.   Certainty Management/LenCred Issues

        Days ago, Class Counsel became aware of another website with false and misleading
information about the settlement, including two embedded videos. Betz & Baril is mentioned
specifically in one of the videos. The website lacks any of the Court-ordered disclaimers and, to the
contrary, gives the impression that merchants must “opt in” with this entity to receive settlement
funds. The website states: “To apply, we just need your business name and basic contact information.
That’s it. Once received, our team will send you our retainer agreement via DocuSign.” Exs. A, B,
attached hereto. The site also makes it appear that Class Counsel is involved in this business venture.
The site notes: “Funds recovered are split 60/40 with the facilitation team. You retain 60%; the legal
and fintech team receives 40% (remember, in many cases, the team members who have been
working on this settlement have been doing so for 20+ years).” Exs. A, B, attached hereto. Of
course Betz & Baril had nothing to do with the settlement. It falsely claims to know when payments
are to occur and provides baseless estimates regarding expected settlement returns.




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           Even more troubling are the statements made in the videos.1

                   “[T]he Firm Betz & Baril who we work with is a court-appointed attorney. They have
                    been authorized to facilitate these settlements.” Ex. C.

                   “All we need is your name and email address. We’ll send you the e-signature
                    agreement the DocuSign in which they ask for a little bit more information . . . that
                    gives them authorization to go to the Visa/Mastercard portal, collect the data that they
                    need to show how much you processed and how much your share in the settlement
                    would be due.” Id.

                   “You receive 60% of whatever the settlement is. The other 40% goes to the law firm
                    for their work and marketing and so forth and so on. [T]hey are court appointed; they
                    have access to the Visa/Mastercard portal as I said, they can collect the data they need
                    as soon as you complete that DocuSign signature.”2 Id.

                   “[L]ess than 2% of the merchants nationwide are aware of this.”3 Id.

                   “We’re estimating it could be as much as $10,000 or even more per million dollars
                    processed.” Id. This baseless estimate is also repeated on a flyer available on the site.
                    See Ex. E, attached hereto.

        The video also refers to “[o]ur fintech partner who is the facilitator of this settlement,” giving
the false impression that Certainty Management and Betz & Baril are collaborating with the Court-
appointed Class Administrator, Epiq. Ex. D.

        Class Counsel called Mr. Baril on September 4, 2024. At the time, Mr. Baril stated that he
was not familiar with Certainty Management and that he had heard of LenCred but thought he had a
“conflict” with that entity. Class Counsel informed Mr. Baril that it would be seeking an order to


1
    A transcription of the two videos is attached, but the following examples demonstrate the false and/or misleading
nature of the online materials. Exs. C, D, attached hereto. The two videos are available on YouTube (https://www.
youtube.com/watch?v=_nF0V9Ie8aA&t=288s; https://www.youtube.com/watch?v=B2ETyA4kJmQ&t=23s).

2
     The video and website also misstate the settlement amount.
3
     The second video baselessly states: “As of the time of this recording, we have only about 2.1% of all merchants
nationwide who have opted in.” Ex. D. Unlike the first video, this second video does not directly refer to Betz & Baril
or any other law firm.


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show cause based on the repeated issues related to his firm. Mr. Baril stated that he understood the
seriousness of the issue. Class Counsel stated that he would likely have an opportunity to address the
Court.

        On September 4, 2024, Class Counsel also sent an email to the contact listed on the website,
https://www.certaintyteam.com/settlement, demanding that it cease and desist. Class Counsel also
called and left detailed messages with Certainty Management on September 4 and 5, 2024. As of
2 p.m. PT / 5 p.m. ET on the date of filing, no response has been received from LenCred or Certainty
Management.

II.        THE COURT’S AUTHORITY TO BAR THESE ENTITIES FROM ANY
           ROLE IN THE SETTLEMENT IS CLEAR

        Class Counsel here provides authority detailing the Court’s ability to protect class members
from overreaching third parties. Class Counsel provided much of this in a letter on August 16, 2024,
but includes it here as well. Over the past 10 years, the Court has issued several rulings examining
its authority to act to protect class members from overreaching third parties. The guiding principle
was detailed in a lengthy Order issued in 2014. The Court held:

           The Court’s authority is clear, and its obligation to protect class members is strong.
           The only effective way to avoid confusion and intolerable inefficiencies in the claims
           filing process is to be firm: any third-party claims filing company that knowingly
           makes – directly or through an agent acting on its behalf – material false or misleading
           statements to merchants in an effort to solicit their business risks being permanently
           enjoined from filing claims in this case.4

In re Payment Card Interchange Fee and Merch. Disc. Antitrust Litig., 2014 WL 4966072, at *1
(E.D.N.Y. Oct. 3, 2014).

        There the Court imposed a permanent injunction against a third party and provided significant
legal support for its holding, including details regarding a situation that arose in the Visa Check action
where a third-party claims filing entity was found to have misled class members. Payment Card,
2014 WL 4966072, at *1-*3; see also In re Visa Check/Mastermoney Antitrust Litig., 2006 WL
1025588 (E.D.N.Y. Mar. 31, 2006). In Visa Check, the Court imposed an order requiring corrective




4
      Unless otherwise noted, all emphasis is added and citations are omitted.


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notices be sent to class members and to mail a notice allowing merchants to void contracts they had
entered into. Payment Card, 2014 WL 4966072, at *6.

       Throughout the litigation, the Court has made clear its intention to “proactively protect class
members from overreaching claims filing companies by ‘preventing confusion and deception before
they can happen,” as opposed “to taking remedial measures after they happen.’” Id. at *17 (quoting
ECF 6147 at 1).

        As the Court has noted: “common sense dictates that the onus for ensuring that solicitations
to class members are truthful must necessarily fall on the third-party claims filing company seeking
class members’ business.” Id. at *30; see also Visa Check, 2006 WL 1025588, at *6. “The judge has
ultimate control over communications among the parties, third parties, or their agents and class
members on the subject matter of the litigation to ensure the integrity of the proceedings and the
protection of the class.” Manual for Complex Litigation (Fourth) §21.33 (2004) (the “Manual”).
“[T]he court may take curative action – such as requiring the distribution of corrective notices or
entering injunctive relief – where misleading or false statements are made to class members.”
Payment Card, 2014 WL 4966072, at *31 (citing Manual).

           As the Court held:

           Pursuant to Rule 23(d), courts have taken various curative actions to “prevent court-
           approved class notification materials from being nullified by competing and inaccurate
           information.” 1 Litigating Tort Cases §9:16; see e.g., In re Lupron Marketing and
           Sales Practices Litigation, 2004 WL 3049754, at *1-2 (D.Mass.2004) (ordering
           counsel for intervenors to remove website content found to be “blatantly misleading
           and deliberately intended to deceive potential plaintiffs into believing that the websites
           are either court-sanctioned or sponsored by the MDL plaintiffs” and to provide
           corrective notice); In re McKesson HBOC, Inc. Securities Litigation, 126 F. Supp. 2d
           1239, 1246-47 (N.D.Cal.2000) (ordering that misleading statements made by outside
           attorney be remedied by curative notice to solicited class members, inclusion of court-
           mandated disclosures in attorney’s future solicitations, and permitting rescission of
           solicited agreements); Georgine v. Amchem Products, Inc., 160 F.R.D. 478, 489, 496-
           98 (E.D.Pa.1995) (invalidating opt-outs and creating second opt-out period where
           several law firms opposed to the settlement sent misleading communications and
           advertisements to absent class members).

Payment Card, 2014 WL 4966072, at *31.




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        As the Court further noted, “the proper exercise of judicial authority in this context may have
either a procedural basis, under Federal Rule of Civil Procedure 23(d), or an equitable basis, under
the All Writs Act.” Id.

                   This Court also has the authority to enjoin a third party pursuant to the All
           Writs Act, which provides that “all courts established by Act of Congress may issue
           all writs necessary or appropriate in aid of their respective jurisdictions and agreeable
           to the usages and principles of law.” 28 U.S.C. § 1651(a). “An injunction, where
           necessary to protect the court’s earlier orders . . . is authorized under the All Writs Act.
           That power extends to non-parties.” In re Synthroid Marketing Litigation, 197 F.R.D.
           607, 610 (N.D.Ill.2000) (citing United States v. New York Tel. Co., 434 U.S. 159, 174
           (1977) (“The power conferred by the Act extends . . . to persons who, though not
           parties to the original action or engaged in wrongdoing, are in a position to frustrate
           the implementation of a court order or the proper administration of justice, and
           encompasses even those who have not taken any affirmative action to hinder justice.”);
           United States v. Silva, 140 F.3d 1098, 1104 (7th Cir.1998) (noting court’s authority to
           grant injunctive relief against nonparty trade association that sent unauthorized,
           confusing letter to class members but instead invoking Rule 23 to order offending
           nonparty to send corrective notice)).

Id. (alternations in original). “Because . . . contracts with class members plainly affect the
administration of the settlements and the distribution of the settlement funds, the All Writs Act
authorizes the relief sought by Lead Counsel.” Visa Check, 2006 WL 1025588, at *5; see also Makere
v. Fitzpatrick, 2023 WL 3010539, at *1 (N.D. Fla. Mar. 22, 2023), aff’d, 2024 WL 2152114 (11th
Cir. May 14, 2024) (“[Under] the All Writs Act, and the court’s inherent authority, sanctions are
imposed as set out in this order.”).

       In sum: “Where, as here, a district court retains exclusive jurisdiction over settlement
agreements and distribution of settlement funds pursuant to those agreements, it may issue orders
necessary to protect the settlement from threats by both parties and non-parties.” Visa Check, 2006
WL 1025588, at *4; Payment Card, 2014 WL 4966072, at *31.

III.       The Court Also Possesses Inherent Authority to Impose Sanctions Against Non-
           Parties

        “A federal court has the inherent power to impose sanctions against a party or non-party who
has acted in bad faith, vexatiously, wantonly, or for oppressive reasons.” Am. Tr. v. Sabino, 230 F.3d
1357, 2000 WL 1478372, at *1 (6th Cir. Sept. 28, 2000); see Chambers v. NASCO, Inc., 501 U.S. 32,
46-50 (1991); see also Corder v. Howard Johnson & Co., 53 F.3d 225, 232 (9th Cir. 1995) (as
amended). The Court has the discretion to fashion appropriate sanctions for conduct which abuses

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the judicial process. See Chambers, 501 U.S. at 44-45. Indeed, there is significant, well-settled case
law regarding the Court’s inherent authority to sanction a non-party ‘“for abuse of the judicial
process.”’ Arrowhead Cap. Fin., Ltd. v. PicturePro, LLC, 2022 WL 1843136, at *1 (C.D. Cal. Apr.
11, 2022) (quoting Pennwalt Corp. v. Durand-Wayland, Inc., 708 F.2d 492, 494 (9th Cir. 1983) (as
amended)); see also Bartos v. Pa., 2010 WL 1816674, at *5 (M.D. Pa. May 5, 2010) (“It is also
beyond serious dispute that this power extends, not only to parties in civil litigation, but also to other
persons, such as witnesses, who may be embroiled in that litigation.”); In re Rainbow Mag., Inc., 77
F.3d 278, 282 (9th Cir. 1996) (sanction imposed against a non-party for filing false statement). The
Court has the discretion to fashion appropriate sanctions for conduct which abuses the judicial
process. Chambers, 501 U.S. at 44-45.5

       An entity’s status as a non-party, while relevant, is not dispositive. See, e.g., Manez v.
Bridgestone Firestone N. Am. Tire, LLC, 533 F.3d 578, 585 (7th Cir. 2008) (“No matter who allegedly
commits a fraud on the court – a party, an attorney, or a nonparty witness – the court has the inherent
power to conduct proceedings to investigate that allegation and, if it is proven, to punish that
conduct.”); see also Sundby v. Marquee Funding Grp., Inc., 2020 WL 5709445, at *5 (S.D. Cal. Sept.
24, 2020) (“The Court’s inherent authority to sanction willful conduct also includes ‘the authority to
sanction the conduct of a nonparty who participates in abusive litigation practices, or whose actions
or omissions cause the parties to incur additional expenses.”’). See In re Holloway, 884 F.2d 476,
477 & n.2 (9th Cir. 1989) (per curiam) (sanctioning a court reporter for “repeated and flagrant failures
to meet court-imposed deadlines” that resulted in “severe prejudice to both the parties and the court”).

       While “‘many courts have addressed the issue of whether the inherent authority of a court to
sanction litigants extends to non-parties”’ there is some debate where the non-parties are found not
to have violated ‘“any specific court order.”’ Ganci v. U.S. Limousine Serv., Ltd., 2012 WL
13109965, at *4 (E.D.N.Y. Sept. 28, 2012).

       Some courts hold that a specific finding of bad faith is necessary in order to support the
invocation of the court’s inherent power to impose sanctions to a non-party for a violation of a court
order. See, e.g., Amerisource Corp. v. Rx USA Int’l Inc., 2010 WL 2730748, at *5 (E.D.N.Y. July 6,
2010), aff’d sub nom. N.Y. Credit & Fin. Mgmt. Grp. v. Parson Ctr. Pharm., Inc., 432 F. App’x 25
(2d Cir. 2011). Federal courts have the inherent authority to sanction bad-faith conduct, as well as
conduct that is “‘tantamount to bad faith.’” Metz v. Unizan Bank, 655 F.3d 485, 489 (6th Cir. 2011)
(quoting Roadway Express, Inc. v. Piper, 447 U.S. 752, 767 (1980)). Bad faith, in turn, is associated
with conduct that is intentional or reckless. See Schafer v. City of Defiance Police Dep’t, 529 F.3d


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    “As long as a party receives an appropriate hearing, . . . the party may be sanctioned for abuses of process occurring
beyond the courtroom, such as disobeying the court’s orders.” Id. at 57.


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731, 737 (6th Cir. 2008); United States v. Wheeler, 154 F. Supp. 2d 1075, 1078-79 (E.D. Mich. 2001)
(sanctions under court’s inherent authority warranted for reckless or bad-faith conduct, and defining
“‘recklessness’” as “‘highly unreasonable conduct which is an extreme departure from the standards
of ordinary care,’” such that it is “‘more than mere negligence but less than intent’”).

IV.        CONCLUSION

        The conduct of Betz & Baril, as well as LenCred and Certainty Management, is egregious.
And in the case of Betz & Baril, it is recurring, despite repeated attempts to get the firm to comply
with this Court’s orders. The attached proposed Order to Show Cause should therefore be granted.

                                       Respectfully submitted,

   /s/ Ryan W. Marth               /s/ Michael J. Kane                /s/ Alexandra S. Bernay
   K. Craig Wildfang               H. Laddie Montague, Jr.            Patrick J. Coughlin
   Thomas J. Undlin                Merrill G. Davidoff                Alexandra S. Bernay
   Ryan W. Marth                   Michael J. Kane                    Robbins Geller Rudman
   Robins Kaplan LLP               Berger Montague PC                    & Dowd LLP

Exhibits

cc:     All Counsel via ECF




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